                            Case 3:20-cv-05671-JD Document 45 Filed 09/09/20 Page 1 of 2



                     1   Brian C. Rocca, Bar No. 221576                   Richard S. Taffet, pro hac vice pending
                         brian.rocca@morganlewis.com                      richard.taffet@morganlewis.com
                     2   Sujal J. Shah, Bar No. 215230                    MORGAN, LEWIS & BOCKIUS LLP
                         sujal.shah@morganlewis.com                       101 Park Avenue
                     3   Michelle Park Chiu, Bar No. 248421               New York, NY 10178-0060
                         michelle.chiu@morganlewis.com                    Telephone: (212) 309-6000
                     4   Minna Lo Naranjo, Bar No. 259005                 Facsimile: (212) 309-6001
                         minna.naranjo@morganlewis.com
                     5   Rishi P. Satia, Bar No. 301958                   Willard K. Tom, pro hac vice pending
                         rishi.satia@morganlewis.com                      willard.tom@morganlewis.com
                     6   MORGAN, LEWIS & BOCKIUS LLP                      MORGAN, LEWIS & BOCKIUS LLP
                         One Market, Spear Street Tower                   1111 Pennsylvania Avenue, NW
                     7   San Francisco, CA 94105-1596                     Washington, D.C. 20004-2541
                         Telephone: (415) 442-1000                        Telephone: (202) 739-3000
                     8   Facsimile: (415) 442-1001                        Facsimile: (202) 739-3001

                     9
                         Attorneys for Defendant
                    10   Google LLC
                    11
                                                     UNITED STATES DISTRICT COURT
                    12
                                                   NORTHERN DISTRICT OF CALIFORNIA
                    13
                                                           SAN FRANCISCO DIVISION
                    14

                    15
                         EPIC GAMES, INC., a Maryland Corporation,       Case No. 3:20-cv-05671-JD
                    16
                                              Plaintiff,                DEFENDANT GOOGLE LLC’S
                    17                                                  NOTICE OF FILING
                                       v.
                    18
                         GOOGLE LLC; GOOGLE IRELAND
                    19   LIMITED; GOOGLE COMMERCE
                         LIMITED; GOOGLE ASIA PACIFIC
                    20   PTE. LTD.; and GOOGLE PAYMENT
                         CORP.,
                    21
                                              Defendants.
                    22

                    23

                    24

                    25

                    26

                    27

                    28
MORGAN, LEWIS &
 BOCKIUS LLP                                                                                  Case No. 3:20-cv-05671-JD
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                   DEFENDANT GOOGLE LLC’S NOTICE OF FILING
                            Case 3:20-cv-05671-JD Document 45 Filed 09/09/20 Page 2 of 2



                     1   TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:

                     2          PLEASE TAKE NOTICE that on September 9, 2020, Defendant Google LLC

                     3   (“Google”) filed an Administrative Motion to Consider Whether Cases Should Be Related

                     4   (“Administrative Motion”) in Feitelson et al. v. Google Inc., No. 5:14-cv-02007-BLF at ECF No.

                     5   56. A true and correct copy of Google’s Administrative Motion is attached hereto as Exhibit A.

                     6   Dated: September 9, 2020                           By     /s/ Brian C. Rocca
                                                                                 Brian C. Rocca
                     7                                                           MORGAN, LEWIS & BOCKIUS LLP
                     8                                                           Attorneys for Defendant
                                                                                 Google LLC
                     9

                    10

                    11

                    12

                    13

                    14

                    15

                    16

                    17

                    18

                    19

                    20

                    21

                    22

                    23

                    24

                    25

                    26

                    27

                    28
MORGAN, LEWIS &
 BOCKIUS LLP                                                            1                         Case No. 3:20-cv-05671-JD
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                  DEFENDANT GOOGLE LLC’S NOTICE OF FILING
